                           Case 5:24-mc-80189-PCP Document 1-1 Filed 07/30/24 Page 1 of 7




                      1   Eugene Kim, SBN: 221753
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                      2   STREAM KIM HICKS WRAGE & ALFARO, PC
                      3   3403 Tenth Street, Suite 700
                          Riverside, CA 92501
                      4   Telephone: (951) 783-9470
                      5   Facsimile: (951) 783-9475
                      6   Attorneys for Applicants
                      7   Sakura Miyawaki, et al.
                      8
                      9
                                                  UNITED STATES DISTRICT COURT
                  10
                  11                          NORTHERN DISTRICT OF CALIFORNIA

                  12                                        SAN JOSE DIVISION
                  13
                  14      In re Ex Parte Application of         ) CASE NO. 5:24-mc-80189
                                                                )
                  15      Sakura Miyawaki, Chae-won Kim,        ) DECLARATION OF MUN HUI
                          Jennifer Yunjin Huh, Kazuha Nakamura, ) KIM IN SUPPORT OF
                  16      and E.C.H.,                           ) APPLICANTS’ EX PARTE
                  17                                            ) APPLICATION FOR AN ORDER
                                 Applicants.                    ) PURSUANT TO 28 U.S.C. § 1782
                  18                                            ) AUTHORIZING DISCOVERY FOR
                                                                ) USE IN A FOREIGN CIVIL
                  19                                            ) PROCEEDING
                                                                )
                  20
                  21
                  22             I, Mun Hui Kim, declare that:

                  23             1.      I am an attorney licensed to practice law in the Republic of Korea (“Korea”)

                  24      since 2005. I am a Partner at Yulchon LLC, a law firm in Seoul, Korea. I have personal

                  25      knowledge of the matters stated herein, unless expressly stated otherwise.

                  26             2.      I submit this declaration in support of the Applicants’ Ex Parte Application for an

                  27      Order Pursuant to 28 U.S.C. § 1782 Authorizing Discovery for Use in a Foreign Civil

                  28      Proceeding (“Application”).
                                                                1
STREAM|KIM                                          DECLARATION OF MUN HUI KIM
ATTORNEYS AT LAW
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    951-783-9470
                              Case 5:24-mc-80189-PCP Document 1-1 Filed 07/30/24 Page 2 of 7




                      1              3.     SOURCE MUSIC Co., Ltd. (“SOURCE MUSIC”), a corporation established

                      2   under the laws of Korea, retained Yulchon to represent them in a matter involving anonymous

                      3   persons associated with the YouTube handles “@issuefeed” and “@shortchajang” (collectively,

                      4   the “YouTubers”).

                      5              4.     On the YouTube platform, the YouTubers published a number of videos

                      6   containing false, defamatory and/or harassing statements about the Applicants.1 I have reviewed

                      7   the videos at issue in their original Korean language and the Declaration of Joo Young Kim, who

                      8   further describes some of them. I agree with Joo Young Kim that the words and expressions used

                      9   by the YouTubers appear to indicate that they are both native Korean speakers and located in

                  10      Korea. I also agree that there is nothing to indicate that the YouTubers are non-Korean citizens

                  11      or that they reside outside of Korea.

                  12                 5.     On June 12, 2024, the Applicants filed a civil lawsuit against the YouTubers in

                  13      Korea for defamation pursuant to Articles 750 and 751 of the Civil Act of Korea (“Civil

                  14      Matter”). Each Applicant is claiming KRW 20,000,000 (approx. USD 14,000) against each

                  15      YouTuber, with interest accruing at 12% per annum from the date of service of the civil

                  16      complaint until the date payment is made in full. I am the attorney of record for the Applicants in

                  17      the Civil Matter.

                  18                 6.     Articles 750 and 751 of the Civil Act (“민법” in the original Korean language)

                  19      states:2

                  20                  Article 750 (Definition of Torts)

                  21                  Any person who causes losses to or inflicts injuries on another person by an
                                      unlawful act, intentionally or negligently, shall be bound to make
                  22                  compensation for damages arising therefrom.
                  23
                                      Article 751 (Compensation for Non-Economic Damages)
                  24
                  25
                  26      1
                            In Korea, it is generally illegal for an individual to defame, harass or otherwise make false allegations against
                            another.
                  27      2
                            English translation provided by Korea Legislation Research Institute available at
                            https://www.law.go.kr/LSW/eng/engLsSc.do?menuId=2&section=lawNm&query=%EB%AF%BC%EB%B2%95
                  28        +civil+act+&x=28&y=9.
                                                                     2
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                                     (1) A person who has injured the person, liberty or fame of another or has
                      1              inflicted any mental anguish to another person shall be liable to make
                      2              compensation for damages arising therefrom.
                                     (2) The court may order the guilty party to discharge the compensation
                      3              mentioned in paragraph (1) by periodical payments, and may order such guilty
                      4              parties to offer reasonable security in order to insure his/her performance of
                                     such obligations.
                      5
                      6             7.      In particular, the YouTubers’ defamatory statements made against E.C.H., a
                      7   minor under the age of 18 years old, is a violation of Article 17, Paragraph 5, of the Child
                      8   Welfare Act of Korea3 (“아동복지법” in the original Korean language), which states:
                      9              Article 17 (Prohibited Acts)

                  10                 No person shall engage in any of the following acts:
                  11                 …
                  12                 5. Committing emotional abuse against a child that may harm his or her
                  13                 mental health and development (including cases caused by the exposure of
                                     children to domestic violence referred to in subparagraph 1 of Article 2 of the
                  14                 Act on Special Cases concerning the Punishment of Crimes of Domestic
                                     Violence)[.]
                  15
                  16                8.      In Korea, the court conducts service of process based on the information provided
                  17      by the plaintiff. Without the YouTubers’ personally identifiable information (“PII”), such as
                  18      their name(s), date(s) of birth, gender(s), phone number(s) and address(es), the Applicants will
                  19      not be able to provide the Korean civil court sufficient information to serve the civil complaint.
                  20      Therefore, the Applicants request Section 1782 discovery in order to proceed with the Civil
                  21      Matter.
                  22                9.      Because Google LLC (“Google”) is not a party to the Civil Matter and the
                  23      Applicants seek information held by Google in the United States (“U.S.”),4 it is beyond the reach
                  24      of the Korean courts’ jurisdiction.
                  25
                          3
                            English translation provided by Korea Legislation Research Institute available at
                  26        https://www.law.go.kr/engLsSc.do?menuId=1&subMenuId=21&tabMenuId=117&query=%EC%95%84%EB%8F
                            %99%EB%B3%B5%EC%A7%80%EB%B2%95#.
                  27      4
                            Google’s principal office is located at 1600 Amphitheatre Parkway, Mountain View, California 94043; attached as
                            Exhibit 1 is a true and a correct copy of Google’s Statement of Information filed with the Office of the California
                  28        Secretary of State on September 7, 2023.
                                                                     3
STREAM|KIM                                               DECLARATION OF MUN HUI KIM
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                           Case 5:24-mc-80189-PCP Document 1-1 Filed 07/30/24 Page 4 of 7




                      1          10.     As an experienced attorney in Korea, I am aware that Korean courts are receptive

                      2   to receiving the U.S. federal courts’ assistance in discovery, including through Section 1782.

                      3          11.     I am not aware of any restrictions under Korean law that would limit or prevent

                      4   the U.S. federal courts from assisting the Applicants obtain evidence to identify the YouTubers

                      5   for use in a Korean court proceeding.

                      6          12.     Additionally, I am not aware of any restrictions under Korean law that would

                      7   limit or otherwise prevent the Applicants from gathering evidence under Section 1782 in the

                      8   manner proposed and for the reasons stated in the Application.

                      9          13.     The Applicants are not attempting to circumvent any foreign proof-gathering

                  10      restrictions or policies of Korea or the U.S. Based on my experience and knowledge, the

                  11      requested PII is admissible in the Civil Matter.

                  12             14.     Based upon the foregoing, the Applicants seek information that is critical to the

                  13      Civil Matter in Korea, and the proposed subpoena is narrowly tailored and limited to seek

                  14      information that is needed to identify the anonymous YouTubers. I am informed and believe that

                  15      Google maintains the requested information in its regular course of business.

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                           Case 5:24-mc-80189-PCP Document 1-1 Filed 07/30/24 Page 5 of 7




                      1          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

                      2   United States of America that the foregoing is true and correct.

                      3
                                   Executed on July 30, 2024
                      4
                      5
                                                                MUN HUI KIM
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STREAM|KIM                                          DECLARATION OF MUN HUI KIM
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                      Case 5:24-mc-80189-PCP Document 1-1 Filed 07/30/24 Page 6 of 7




                                                                                                                                        B2094-5690 09/07/2023 10:26 AM Received by California Secretary of State
                                                                                                                  BA20231413505

                         STATE OF CALIFORNIA                                                              For Office Use Only
                         Office of the Secretary of State
                         STATEMENT OF INFORMATION                                                          -FILED-
                         LIMITED LIABILITY COMPANY
                         California Secretary of State                                            File No.: BA20231413505
                         1500 11th Street                                                         Date Filed: 9/7/2023
                         Sacramento, California 95814
                         (916) 653-3516



Entity Details
  Limited Liability Company Name                                 GOOGLE LLC
  Entity No.                                                     201727810678
  Formed In                                                      DELAWARE
Street Address of Principal Office of LLC
  Principal Address                                              1600 AMPHITHEATRE PARKWAY
                                                                 MOUNTAIN VIEW, CA 94043
Mailing Address of LLC
  Mailing Address                                                1600 AMPHITHEATRE PARKWAY
                                                                 MOUNTAIN VIEW, CA 94043
  Attention                                                      Attn: Legal Dept.
Street Address of California Office of LLC
  Street Address of California Office                            1600 AMPHITHEATRE PARKWAY
                                                                 MOUNTAIN VIEW, CA 94043
Manager(s) or Member(s)

                           Manager or Member Name                                    Manager or Member Address

   XXVI Holdings Inc.                                           1600 Amphitheatre Parkway
                                                                Mountain View, CA 94043


Agent for Service of Process
  California Registered Corporate Agent (1505)                   CORPORATION SERVICE COMPANY WHICH WILL DO
                                                                 BUSINESS IN CALIFORNIA AS CSC - LAWYERS
                                                                 INCORPORATING SERV
                                                                 Registered Corporate 1505 Agent
Type of Business
  Type of Business                                               TECHNOLOGY COMPANY
Email Notifications
  Opt-in Email Notifications                                     Yes, I opt-in to receive entity notifications via email.
Chief Executive Officer (CEO)

                                   CEO Name                                                CEO Address

   Sundar Pichai                                                1600 Amphitheatre Parkway
                                                                Mountain View, CA 94043


Labor Judgment
  No Manager or Member, as further defined by California Corporations Code section 17702.09(a)(8), has an
  outstanding final judgment issued by the Division of Labor Standards Enforcement or a court of law, for which no
  appeal is pending, for the violation of any wage order or provision of the Labor Code.




                                                         Exhibit 1
                                                                                                                                Page 1 of 2
                       Case 5:24-mc-80189-PCP Document 1-1 Filed 07/30/24 Page 7 of 7




                                                                                                                                           B2094-5691 09/07/2023 10:26 AM Received by California Secretary of State
Electronic Signature

       By signing, I affirm under penalty of perjury that the information herein is true and correct and that I am authorized by
       California law to sign.


  Kenneth H. Yi                                                      09/07/2023
  Signature                                                          Date




                                                       Exhibit 1
                                                                                                                                   Page 2 of 2
